                                 UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF NEW YORK


UNITED STATES OF AMERICA

       v.                                                     24-00676-VEC

ALON ALEXANDER,
OREN ALEXANDER, and
TAL ALEXANDER,

       Defendants.

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                   NOTICE OF MOTION FOR BILL OF PARTICULARS

       PLEASE TAKE NOTICE THAT, upon the accompanying Memorandum of Law,

defendants, by and through counsel, move this Court for an order requiring the government to

produce a bill of particulars pursuant to Fed. R. Crim. P. 7(f).

                                                      Respectfully submitted,

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